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                       7
                       8                          UNITED STATES DISTRICT COURT
                       9                        CENTRAL DISTRICT OF CALIFORNIA
                      10
                      11   ALATUS AEROSYSTEMS, a                  CASE NO. 19-cv-1869
                           California corporation,
                      12                                           PLAINTIFF’S APPLICATION FOR
                                          Plaintiff,               TEMPORARY RESTRAINING
                      13                                           ORDER AND ORDER TO SHOW
                                  v.                               CAUSE WHY A PRELIMINARY
                      14                                           INJUNCTION SHOULD NOT
                           MARIO VELAZQUEZ, an individual,         ISSUE
                      15   and DOES 1 through 50, inclusive
                                                                   Date: To Be Determined
                      16                                           Time: To Be Determined
                                          Defendants.              Courtroom: To Be Determined
                      17                                           Judge: To Be Determined
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                       1         Plaintiff Alatus Aerosystems (“Alatus”) hereby applies for a temporary
                       2   restraining order, and an order to show cause why a preliminary injunction should
                       3   not issue against Defendant Mario Velazquez to ensure that Defendant does not
                       4   misuse or disclose Alatus’ trade secrets during the pendency of this action.
                       5         Alatus specifically requests an order restraining and enjoining Velazquez and
                       6   all those in active concert or participation with him from using, disclosing, or sharing
                       7   Alatus’ confidential and proprietary information which includes sensitive customer
                       8   pricing and product specifications documents. These customer pricing and product
                       9   documents contain highly confidential information concerning Plaintiff’s clients,
                      10   including the specific aerospace products and parts ordered by clients, related pricing
                      11   data, material specifications and quantities. Defendant also took confidential and
                      12   proprietary information relating to each machining asset, including its operating
                      13   system, and capacity. Such information risks irreparable harm to Alatus given
                      14   Defendants may use these trade secrets to gain an irreversible and unfair competitive
                      15   advantage.
                      16         Alatus further requests an order for expedited discovery in this action. Alatus
                      17   seeks the timely deposition of Defendant Velazquez. Alatus also seeks to propound
                      18   discovery requests to identify all of Alatus’ information in Velazquez’s possession,
                      19   custody, and control, and any third parties in communication with Velazquez to
                      20   whom he may have transferred and/or shared the confidential information. Finally,
                      21   Alatus will propound a request to inspect Defendant’s computer devices. Such
                      22   inspection will be conducted by a third-party neutral that can confirm Alatus’
                      23   confidential information is secure and was not transmitted to any unidentified
                      24   devices. This discovery is narrowly tailored to Alatus’ claims and poses a de minimis
                      25   burden on Defendant since Alatus would ordinarily seek this discovery in the course
                      26   of the case.
                      27   //
                      28   //
DLA P I PER LLP (US)                                                 -1-
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                       1         This Application is made on the following grounds:
                       2
                       3      1. Alatus has a substantial likelihood of success on the merits of its claims
                                 against Defendant Velazquez for trade secret misappropriation and breach of
                       4         contract based on Defendant’s wrongful retention of Alatus’ trade secrets
                       5         after the termination of Defendant’s employment.

                       6      2. Alatus will suffer irreparable injury in the absence of a TRO because
                       7         Defendant’s use of Alatus’ trade secrets risks irreparable competitive harm.

                       8      3. The balance of hardships weighs decidedly in Alatus’ favor, as it could lose
                       9         its competitive position, lose goodwill with its business partners, and
                                 potentially be subject to sanctions, whereas Defendant would suffer no harm
                      10         were he to be enjoined from misusing Alatus’ trade secrets.
                      11
                              4. The public interest strongly favors the issuance of a TRO in these
                      12         circumstances, as the public interest favors an injunction against the unfair
                      13         competition that arises from improper use of a party’s confidential
                                 information.
                      14
                      15      5. The aforementioned factors establish good cause for expedited discovery
                      16         because a preliminary injunction will be pending, Alatus seeks discovery
                                 narrowly tailored to protect its trade secrets, and Defendant faces little
                      17         burden in complying with this discovery since Alatus would ordinarily seek
                      18         this discovery in the course of the case.

                      19         WHEREFORE, Alatus respectfully requests that the Court enter a Temporary
                      20   Restraining Order, pending hearing on an Order to Show Cause (“OSC”) that:
                      21   (1) enjoins Defendant and all those under his direction or control or in active concert
                      22   or participation with him, his respective suppliers, vendors, licensors, licensees,
                      23   successors and assigns and the officers, directors, employees, agents and
                      24   representatives thereof, from: (a) using, disclosing, or sharing Alatus’ customer
                      25   pricing and product specifications trade secrets with any third parties; and
                      26   (b) disposing of any computer or electronic devices containing Alatus information
                      27   until a third party forensic neutral verifies that Alatus’ information is no longer in
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                       1   Defendant’s possession, custody, or control; and (2) grants expedited discovery
                       2   allowing Alatus to: (a) depose Defendant Velazquez at least fourteen days before
                       3   the OSC hearing; (b) propound requests for production of documents and
                       4   interrogatories to Defendant concerning the claims at issue, and requiring
                       5   substantive responses at least fourteen days before the OSC hearing; and
                       6   (c) propound a request for inspection of Defendant Velazquez’s electronic devices
                       7   to be conducted by a third-party neutral that can confirm Alatus’ confidential
                       8   information is secure and was not transmitted to any unidentified devices.
                       9         Alatus first provided notice of this Application to Defendant’s counsel via
                      10   electronic mail on September 23, 2019. (Declaration of Benjamin Gipson in Support
                      11   of TRO Application, at ¶ 5.) Defendant denies any wrongdoing. (Id.) Through
                      12   counsel Defendant Valazquez provided additional information, and agreed to the
                      13   inspection of his personal computer in exchange for the global resolution of all
                      14   disputes between the parties. (Id.) The parties were unable to reach agreement on a
                      15   final document that provided an inspection sufficient for Alatus to verify Defendant
                      16   Velazquez’s representations. (Id.) Accordingly, on September 29, Alatus’ counsel
                      17   notified Velazquez’s counsel that Alatus would be filing the instant action and would
                      18   be seeking a temporary restraining order on that date due to the Parties failure to
                      19   reach a final agreement.
                      20         This Application is made pursuant to Federal Rule of Civil Procedure 65 and
                      21   Local Rule 65-1 and is based on the accompanying Memorandum of Points and
                      22   Authorities, the declarations of Scott Holland, Adriana Ortiz, and Benjamin Gipson
                      23   attached hereto, and the accompanying Proposed Order.
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                       1   Dated: September 29, 2019   DLA PIPER LLP (US)
                       2
                       3                               By: /s/ Benjamin M. Gipson
                                                          BENJAMIN M. GIPSON
                       4                                  HECTOR E. COREA
                                                          Attorneys for Plaintiff
                       5                                  ALATUS AEROSYSTEMS
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